CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?190105818531202-...
                       Case 1:21-cr-00143-ELR-CCB Document 82 Filed 10/12/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:21-cr-00143-ELR-CCB
                                                         USA v. Hill
                                                 Honorable Eleanor L. Ross

                                Minute Sheet for proceedings held In Open Court on 10/12/2022.


              TIME COURT COMMENCED: 9:00 A.M.
                                                                   COURT REPORTER: Elizabeth Cohn
              TIME COURT CONCLUDED: 5:15 P.M.
                                                                   CSO/DUSM: Ricky Meadows
              TIME IN COURT: 6:30
                                                                   DEPUTY CLERK: Michelle Beck
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):              [1]Victor Hill Present at proceedings
         ATTORNEY(S)                Lynsey Barron representing Victor Hill
         PRESENT:                   Drew Findling representing Victor Hill
                                    Marissa Goldberg representing Victor Hill
                                    Brent Gray representing USA
                                    Bret Hobson representing USA
         PROCEEDING
                                    Jury Trial Began;
         CATEGORY:
         MOTIONS RULED
                                    DFT#1-[80]Motion in Limine GRANTED
         ON:
         MINUTE TEXT:               Court called to order. Also present during the criminal trial were FBI
                                    Special Agents Andrew Marc Benjamin, Josh Berrios and Angel Reyes,
                                    Denise De la Rue (with the Defense) and Alexis Alzadeh (with the
                                    Defense). Court addressed issues with the parties. Potential jurors entered
                                    and the parties were introduced. Voir dire began. 1 hour lunch break. Voir
                                    dire resumed. Jury selected and jurors released for the day with the usual
                                    precautions given by the Court. Court adjourned.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at October 13,
                                    2022 at 9:30am.
         TRIAL STATUS:              Jury Selection Only, continued




1 of 1                                                                                                            10/13/2022, 11:22 AM
